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     UNITED STATES DISTRICT COURT
     SOUTHERN DISTRICT OF NEW YORK


      UNITED STATES OF AMERICA,

            v.                                   19 Cr. 374

      MICHAEL AVENATTI,

                  Defendant.




            DEFENDANT MICHAEL AVENATTI’S NOTICE OF MOTION FOR
                        A JURY QUESTIONNAIRE

      PLEASE TAKE NOTICE THAT upon the accompanying Memorandum of Law,

defendant Michael Avenatti moves this honorable Court for an order allowing a jury

questionnaire. The government’s response is due Dec. 12, 2019, and no hearing has

been set.



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                          CERTIFICATE OF SERVICE


      I hereby certify that on Nov. 11, 2019, I caused a true and correct copy of

the foregoing to be served by electronic means, via the Court’s CM/ECF system,

on all counsel registered to receive electronic notes.



                                        /s/ H. Dean Steward
                                        H. Dean Steward




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